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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 DUBLIN DIVISION

 CHRISTOPHER BAUGHCUM, JR., et                )
 al.,                                         )
                                              )
        Plaintiffs,                           )
                                              ) CIVIL ACTION NO. 3:21-cv-
 v.                                           ) 00036-DHB-BKE
                                              )
 GENOLA JACKSON, et                           )
 al.,                                         )
                                              )
        Defendants.                           )
                            PLAINTIFFS’ NOTICE OF APPEAL
       Notice is hereby given that Plaintiffs Christopher Baughcum Jr., Zane Meyers, Sophie

Long, and Firearms Policy Coalition, Inc. appeal to the United States Court of Appeals for the

Eleventh Circuit from the Court’s orders and judgment dismissing this case, Exhibit A, “Order,”

Doc. 40 (April 5, 2022); Exhibit B, “Order,” Doc. 43 (Oct. 6, 2022); Exhibit C, “Judgment,” Doc.

44 (Oct. 6, 2022). Copies of these documents are attached hereto.


October 11, 2022                                    Respectfully Submitted,

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